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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff(s),                         )
                                                  )
      vs.                                         )           Case No. 4:10CR595 JCH (DDN)
                                                  )
BRIAN LEWIS HEDRICK,                              )
                                                  )
            Defendant(s).                         )


                                             ORDER

       This matter is before the Court on Defendant’s oral and written pre-trial motions to suppress

Evidence (Doc. Nos. 59, 96, 117), the Government’s oral motion for a determination of the

admissibility of arguably suppressible evidence (Doc. No. 60), and the written motion of defendant

Hedrick to sever the charges against him for a trail separate from co-defendants (Doc. No. 95).

Pursuant to 28 U.S.C. § 636(b), these matters were referred to United States Magistrate Judge David

D. Noce, who filed a Report and Recommendation on March 7, 2011 (Doc. No. 123). Defendant

Hedrick submitted his “Objections to the Magistrate’s Report and Recommendation” on March 22,

2011 (Doc. No. 126), and the Government filed its “Response to Defendant’s Objections to the

Report and Recommendation Denying His Motion to Suppress” the same day (Doc. No. 127) .

       The Magistrate Judge recommends that the Court (1) deny the oral and written motions of

defendant Brian Lewis Hedrick to suppress evidence (Doc. Nos. 59, 96, 117), (2) deny, as moot, the

motion by the government for determination by the Court of the admissibility of arguably suppressible

evidence (Doc. No. 60), and (3) deny, without prejudice, the written motion of defendant Hedrick

to sever the charges against him for a trial separate from co-defendants (Doc. No. 95). After de novo

review of this matter, this Court adopts the Magistrate Judge’s recommendation.
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       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the United States

Magistrate Judge (Doc. No. 123) is SUSTAINED, ADOPTED, AND INCORPORATED herein.

       IT IS FURTHER ORDERED that the oral and written motions of defendant Brian Lewis

Hedrick to suppress evidence (Doc. Nos. 59, 96, 117) are DENIED.

       IT IS FURTHER ORDERED that the motion by the government for determination by the

Court of the admissibility of arguably suppressible evidence (Doc. No. 60) is DENIED, as moot.

       IT IS FURTHER ORDERED that the written motion of defendant Hedrick to sever the

charges against him for a trial separate from co-defendants (Doc. No. 95) is DENIED, without

prejudice.



Dated this 23rd day of March, 2011.



                                               /s/ Jean C. Hamilton
                                               UNITED STATES DISTRICT JUDGE




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